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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY
                                        NEWARK DIVISION

---------------------------------------------------------------x

CHRISTOPHER E. BROWN,
an individual,

        Plaintiff,
v.                                                                  Civ. No.: 2:17-cv-00503-CCC-SCM

HUDSON ASSOCIATES LIMITED PARTNERSHIP,
a New Jersey Limited Partnership,

         Defendant.
----------------------------------------------------------------x


                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff,

Christopher E. Brown, by and through his counsel(s), hereby gives notice that the above

captioned action is voluntarily dismissed, with prejudice against the defendant, Hudson

Associates Limited Partnership.

Dated: June 15, 2017

                                                     Respectfully submitted,

                                                     By: /s/ Elizabeth T. Foster
                                                     Elizabeth T. Foster, Esq.
                                                     ATTORNEY AT LAW, LLC
                                                     Of Counsel
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                                                     201 215 9574 (fax)
                                                     Liztlaw@gmail.com

                                                     Attorney for Plaintiff
                                                         1
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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 15, 2017, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, and a true and correct copy has been furnished via U.S.

Mail as follows:

Cori A. Rosen, Esq.
ROSENBERG&ESTIS,P.C.
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New York, New York 10017
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                                            By: /s/ Elizabeth T. Foster
                                               Elizabeth T. Foster, Esq.




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